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1 HENRY J sILBERBERG 1No. 68494) '"
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5 Attorneys for Defendant POW INQ¢nrd/b a T@
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6 d …ER,U.S D`STR\CT
7 ;:- .
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g 10 - ';jj 1 wEsTERN DIVISION
L_') --;""S' 1
fl ll §FHE§CRYSFAL JUKEBOX, INC., ) Case NO. CV 99-10447 R (CWX)
¢2> aim l )
C:J n.|
12 ~Pla"fntif.f, ) masses-eq oRDER GRANTING
) PARTIAL SUMMARY JUDGMENT IN
13 vS. ) FAVOR OF DEFENDANT POW INC.,
1 d/b/a TOMANDANDY
l4 ANHEUSER~BUSCH CORPORATION, §§ )
L., ) .`.
15 ) iv _.1 1-‘*
Defendants. ) 1 f
16 )
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17 ) 1113coNST\TUTES110111;,¥1U13;1;1;B`\’
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*/ AND RELATED cRoss-ACTIONS. ) AS REQU\RED BY F
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JS ' 5 .` 1..51,.; __ ._:_.».-:.*.*.:;:'11:1. .+.1»:,.-.-511.,;1,.=-"--\"'"'
‘ JS - 2 = _ _
PA_CLSD The motion of defendants Anheuser-Busch Companies, Inc.
21 ’("Anheuser-Busch") and The Leap Partnership, Inc. ("Leap") for
22 Partial Summary Judgment in which defendant POW Inc., d/b/a
23 Tomandandy ("Tomandandy") joined came on regularly for hearing on
24 OCtober 16, 2000 in Courtroom 8 of the above~entitled Court.
Bmwn 25 ' .
wwmw Appearances were made as reflected in the record.
Mi|lstem
§$;iw 26 The Court, having considered the moving and opposing papers,
1BBOCentury
:L§Pt 27 the pleadings and files in the action and the oral argument
LosAnge|es, _
CA%UT 28 presented at the hearing, having considered all admissible,
1 i§%

 

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" Ce he 2:99-CV-1O447-R-C\. Document 88 'Filed '10/18/00 we 2 of 4 Page |D #:5,7

1 relevant evidence and having disregarded_any inadmissible and/or

2 irrelevant evidence, and having made a determination of

3 Uncontroverted Facts and Conclusions of Law in connection

4 therewith, and good cause being shown therefor,

5 IT IS HEREB¥ ORDERED AN`D ADJUDGED as fO].]_OWS:

6 1. Summary Judgment on Plaintiffs' Third Cause of Action is
7 hereby granted in favor of defendant Tomandandy on the grounds that
8 Plaintiffs' Third Cause of Action is preempted by Section 301 of

9 the Copyright Act, 17 U.S.C. §301.

10 2. Summary Judgment on Plaintiffs' Fourth Cause of Action is
ll hereby granted in favor of defendant Tomandandy on the grounds that
12 Plaintiffs' Fourth Cause of Action is preempted by Section 301 of
13 the Copyright Act, 17 U.S.C. §301.

14 3. Summary Judgment on Plaintiffs' Fifth Cause of Action is
15 hereby granted in favor of defendant Tomandandy on the grounds that
16 its conduct does not give rise to a claim under section 43(a) of

17 the Lanham Act, 15 U.s.C. §1125(a).

18 4. Summary Judgement on Plaintiffs' Sixth Cause of Action is
19 hereby granted in favor of defendant Tomandandy on the grounds that
20 Plaintiffs' Sixth Cause of Action is preempted by Section 301 of

21 the Copyright Act, 17 U.S.C. §301.

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5. Summary Judgment on the Plaintiffs‘ Seventh Cause of
Action is hereby granted in favor of defendant Tomandandy on the

grounds that Plaintiffs' Seventh Cause of tion is preempted by

   
   

Section 301 of the Copyright Act, 17 U.S §301.

 

Mandel L. Real
United States District Judge

Dated: October lai 2000

Presented by:

HENRY J. SILBERBERG
TIMOTHY J. MARTIN
BROWN RAYSMAN MILLSTEIN FEDLER & STEINER LLP

/,,._.
1114 /`“1@5;

Timothy J. Martin
Attorneys for Defendant
POW INC., d/b/a TOMANDANDY

 

BY:

 

 

* 'case 2:99-cv-10447-R-cv. Documem 38 ~FiF<-;~d 10/13/00 .e 4 014 Page lo #:49 " '
1 * PRooF oF sERvIcE
2 I am employed in the County of Los Angeles, State of

California. I am over the age of 18 and not a party to the
3 within action; my business address is: 1880 Century Park
East, Suite 801; Los Angeles, California 90067-1607.

On October 17, 2000, I served the foregoing document
5 described as [PROPOSED] ORDER GRANTING PARTIAL SUMMARY
JUDGMENT IN FAVOR OF DEFENDANT POW INC., d/b/a TOMANDANDY
6 on all parties in this action.

7 [J by placing [] the original [] a true copy thereof
enclosed in sealed envelope addressed as follows:

8
Robert C. Welsh, Esq.
9 Yakub Hazzard, Esq.
Marc E. Mayer, Esq.
10 ` Mitchell, Silberberg & Knupp LLP
11377 West Olympic Boulevard
11 Los Angeles, California 90064-1683
12 Lawrence Y. Iser, Esq.
Patricia A. Millett, Esq.
13 Greenberg Glusker Fields Claman & Machtinger LLP
1900 Avenue of the Stars, Suite 2100
14 Los Angeles, California 90067-4590

15 [l I delivered such envelope by hand to the offices of the
addressee at the address indicated above.

16
§§ (Federal) I declare that I am employed in the office of
17 a member of the bar of this court at whose direction
the service was made.

18
Executed on October 17, 2000, at Los.Angeles, California.
19

20

21

 

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Raysman
Mkwm

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cA 90067 2 8

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